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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


IN RE:                                        Chapter 7

VITAHEAT MEDICAL, LLC,
                                              Case No. 18-35295
                    DEBTOR.
                                              Honorable A. Benjamin Goldgar

ILENE F. GOLDSTEIN, NOT INDIVIDUALLY
BUT AS CHAPTER 7 TRUSTEE OF THE
VITAHEAT MEDICAL LLC BANKRUPTCY
ESTATE,


                     PLAINTIFF,               Adv. Pro. No. 20 – 00406

              vs.

WILLIAM HAAS AND THINHEAT LLC,

                     DEFENDANTS




                              FIRST AMENDED COMPLAINT

         Ilene F. Goldstein, not individually, but solely as the chapter 7 trustee for the

bankruptcy estate of VitaHEAT Medical, LLC (the “Trustee”) states as follows for

her first amended complaint against Defendant, William Haas and Thinheat LLC.

         1.         The Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

§§ 1331, 1334 and 157. This matter is a core proceeding under 28 U.S.C. §§

157(b)(2)(A), (B), (C), and (O). To the extent this adversary proceeding is deemed a

proceeding in which the Court may not constitutionally enter final orders absent the




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consent of the litigants, the Trustee consents to the entry of final orders by the

Court in this adversary proceeding.

         2.   This Court is the proper venue for this proceeding pursuant to 28

U.S.C. § 1409(a).

         3.   The matter is brought as an adversary proceeding in accordance with

Federal Rule of Bankruptcy Procedure 7001.


                                      PARTIES

         4.   The Trustee is the duly appointed chapter 7 trustee for VitaHEAT

Medical LLC (the “Debtor”).

         5.   Defendant William Haas was, at all times relevant to the allegations

set forth herein, a director of the Debtor and, as such, owed the Debtor fiduciary

duties. Defendant also owed fiduciary duties to the creditors of the Debtor as a

result of the Debtor’s distressed financial condition.

                                      HISTORY

         6.   At all times relevant to the allegations contained herein, William Haas

had an ownership interest in certain Patents.

         7.   On or about January 19, 2012, William Haas established Thinheat

LLC (sometimes known as Thin Heat LLC) (“Thinheat”), by executing and filing a

certificate of formation of the company with the Illinois Secretary of State.

         8.   After Haas formed Thinheat, Haas caused all of the rights in the

Patents to be assigned to Thinheat.




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         9.    On or about February 1, 2012, VitaHEAT Medical, LLC (“the Debtor”),

a Delaware Limited Liability Corporation, was established.1

         10.   Thinheat was one of the initial members of the Debtor.

         11.   The purpose of the Debtor was to manufacture and sell medical

products.

         12.   On or about March 26, 2012, Thinheat entered into a License

Agreement (the “License”) with the Debtor, and so provided the Debtor the right to

manufacture, use, sell, and distribute its medical products, using the Patents

assigned to Thinheat by Haas.

         13.   At all times relevant to the allegations contained herein Thinheat was

a member of the Debtor.

         14.   Haas either is the sole member of Thinheat or has an interest in the

financial well-being of Thinheat such that the success of Thinheat benefits Haas

personally. There is an identity of interest between Thinheat and Haas such that

the separateness between Haas and Thinheat should be ignored or disregarded.

         15.   As a member of the Debtor, Thinheat caused Haas to act as a director

of the Debtor. Haas attended multiple board meetings of the Debtor and discussed

and voted on matters as a director of the Debtor. Haas received and expected to

receive director’s fees from the Debtor.




1 VitaHEAT     Medical, LLC’s original name was Thin Heat Medical, LLC. In the interest of
    clarity, this Complaint will refer to VitaHEAT Medical, LLC, throughout.
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         16.   At all times relevant to the allegations contained herein, Haas was an

insider of the Debtor as a result of his status and as a result of the control he

exercised over the Debtor.

         17.   Haas filed a proof of claim in the above-captioned proceeding stating

that he personally was owed $245,000 for “License Fee, Royalties, Director Fees.”

         18.   Haas owed the same duties to the Debtor and its creditors as a director

of a corporation: Haas owed the Debtor and its creditors a duty of loyalty and a duty

of care.

         19.   Haas acted to benefit his own interests over the interests of the Debtor

with respect to the License. Haas threatened to terminate the License at different

times and made it difficult for the Debtor to realize the value of the License. The

threats to terminate the License and the ultimate termination of the License

impaired the value of the Debtor.

         20.   On or about October 3, 2018, Haas sent the Debtor a letter to

terminate the License. Haas did this to protect his own interests and with

knowledge that it would harm the interests of the Debtor and the Debtor’s creditors.

The termination letter was a continuation of Haas’ prior threats to terminate the

License and represented another effort by Haas to put his own interests above the

interests of the Debtor.

         21.   Haas and Thinheat advised the Court in a June 2019 Motion to Compel

Trustee to Abandon Assets in Addition to Relief from Automatic Stay (the “June

2019 Motion”) that the Debtor “ceased having any legal interest to the Intellectual



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Property Assets under the License on October 3, 2018” and thus the License and the

rights it conveyed were not “part of the bankruptcy estate.” Dkt No. 17 in Case No.

18-35295, p. 7.

         22.   The June 2019 Motion further stated that “at one point during

VitaHeat’s pre-petition attempts to sell assets, Thinheat withdrew its letter

terminating the License for the express and limited purpose of effectuating a

potential sale.” The June 2019 Motion further alleged that “the withdrawal was

limited in scope and reserved all rights for Thinheat” and that “the limited

withdrawal ended … before VitaHeat’s filing of the Petition.” Id.

         23.   Haas knew, or should have known, that the termination of the License

and the threats to terminate the License would harm the Debtor.

         24.   By causing the termination of the License and threatening to

terminate the License, Haas favored his own interests above the interests of the

Debtor and its creditors.

         25.   By causing the termination of the License and threatening to

terminate the License and by making it difficult for the Debtor to enjoy the benefits

of the License, Haas blocked and harmed the Debtor’s continued business

operations and left the Debtor with no viable options.

         26.   On information and belief, the actions of Haas were a primary cause of

the Debtor’s bankruptcy filing and the loss of substantial value.

         27.   On December 21, 2018, the Debtor filed its petition for relief under

chapter 7 of the Bankruptcy Code.



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         28.   Upon the filing of the Debtor’s petition for relief, claims for injury to

the Debtor, from actionable wrongs committed by the Debtor’s officers and directors,

became property of the bankruptcy estate.

         29.   Subsequent to filing for bankruptcy, the Trustee was negotiating a sale

of the assets of the Debtor. Haas and Thinheat refused to cooperate in the sale of

the Debtor’s assets and preferred their own self-interests over those of the Debtor.

         30.   In a postpetition motion to compel abandonment of the licensing

agreement, Haas and Thinheat estimated the value of the licensing agreement at

$850,000.00.


                     COUNT 1: Breach of Fiduciary Duty
         31.   The Trustee repeats and realleges all of the allegations set forth above,

as if fully set forth below.

         32.   The fiduciary duty that Haas owed to the Debtor encompassed a duty

of care and a duty of loyalty.

         33.   The duty of care requires that a director act in good faith, with the care

that an ordinarily prudent person would exercise under similar circumstances.

         34.   The duty of loyalty requires that a director must act in a manner he or

she reasonably believes to be in the best interests of the corporation.

         35.   By threatening to terminate the License and terminating the License

and by making it difficult for the Debtor to realize the value of the License, Haas

breached the duties owed to the Debtor, and favored his own interests to the

detriment of the Debtor and its creditors.


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         36.   Haas breached the duties he owed to the Debtor and its creditors and

favored his own interests to the detriment of the Debtor and its creditors when he

refused to cooperate in the sale of the Debtor’s assets.

         37.   As a result of Defendant’s breaches of his fiduciary duty to the Debtor,

the Debtor suffered damages. Such damages consist of the loss of all value of the

Debtor’s assets.

         WHEREFORE, on Count I of this Complaint, Ilene F. Goldstein, not

individually, but solely as the chapter 7 trustee for the bankruptcy estate of

VitaHEAT Medical, LLC respectfully requests that this court enter judgment in her

favor and against William Haas and Thinheat, in an amount to be determined at

trial.


                     COUNT 2: Fraudulent Conveyance
         38.   The Trustee repeats and realleges all of the allegations set forth above,

as if fully set forth below.

         39.   This Count is plead in the alternative to any other counts that are

inconsistent with the allegations herein.

         40.   Under 11 U.S.C. § 548, the Trustee may avoid any transfer of an

interest of the Debtor in property that was made or incurred on or within two years

before the date of the filing of the petition if the Debtor received less than a

reasonably equivalent value in exchange for such transfer or obligation and was

insolvent on the date that such transfer was made.




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         41.   The Debtor received no value for the termination of the License. The

termination of the License constitutes a transfer within the meaning of Section 548

of the Bankruptcy Code.

         42.   The Debtor was insolvent at the time of the termination of the License

or became insolvent as a result of the termination of the Licensing.

         43.   Pursuant to Section 550 of the Bankruptcy Code, the Trustee may

recover the value of the License from Haas and Thinheat either as the initial

transferee or the entity for whose benefit the transfer was made.

         WHEREFORE, on Count II of this Complaint, Ilene F. Goldstein, not

individually, but solely as the chapter 7 trustee for the bankruptcy estate of

VitaHEAT Medical, LLC respectfully requests that this court enter judgment in her

favor and against William Haas and Thinheat, in an amount to be determined at

trial.

                                        Ilene F. Goldstein, not individually, but
                                        solely as the chapter 7 trustee for the
                                        bankruptcy estate of VitaHEAT Medical,
                                        LLC

                                        By: /s/ William J. Factor
                                               One of her Attorneys


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